                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE


         In re:                                                             Chapter 11

         ALAMO DRAFTHOUSE CINEMAS                                           Case No. 21-10474 (MFW)
         HOLDINGS, LLC, et al.,
                                                                            (Jointly Administered)
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                                             Debtors.


                             NOTICE OF AGENDA OF MATTERS SCHEDULED
                        FOR REMOTE HEARING ON JUNE 30, 2022 AT 11:30 A.M. (ET)


                          AS NO MATTERS ARE GOING FORWARD, THIS HEARING
                        HAS BEEN CANCELLED WITH PERMISSION FROM THE COURT


         RESOLVED MATTERS

         1.       Debtors’ Motion for Entry of an Order Further Extending the Exclusivity Periods for Filing
                  a Chapter 11 Plan and Solicitation of Acceptances Thereof [D.I. 1227, 5/25/22]

                  Response/Objection Deadline:                           June 8, 2022 at 4:00 p.m. (ET)

                  Responses/Objections Received:                         None

                  Related Pleadings:

                       A.       Certificate of No Objection [D.I. 1243, 6/9/22]


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              The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
              number, are: Alamo Drafthouse Cinemas Holdings, LLC (2205); Alamo Drafthouse Cinemas, LLC (5717);
              Alamo Vineland, LLC (1626); Alamo League Investments GP, LLC (1811); Alamo League Investments, Ltd.
              (7227); Alamo South Lamar GP, LLC (3632); Alamo South Lamar, LP (4563); Alamo Drafthouse Raleigh, LLC
              (5979); Alamo DH Anderson Lane, LLC (3642); Alamo Yonkers, LLC (4971); Alamo Mission, LLC (2284);
              Alamo Ritz, LLC (9465); Alamo Mueller, LLC (1221); Mondo Tees, LLC (6900); Alamo City Foundry, LLC
              (6092); Alamo Mainstreet, LLC (2052); Alamo City Point, LLC (3691); Alamo Liberty, LLC (5755); Alamo
              Satown, LLC (6197); Alamo Marketplace, LLC (7041); Alamo Stone Oak, LLC (8398); Alamo Westlakes, LLC
              (4931); Alamo Park North, LLC (1252); Alamo North SA, LLC (6623); Alamo Avenue B, LLC (8950); Alamo
              Slaughter Lane GP, LLC (6968); Alamo Slaughter Lane, Ltd. (5341); Alamo Cinema Group I GP, LLC (9537);
              Alamo Cinema Group I, LP (9656); Alamo Westminster, LLC (8906); Alamo Staten Island, LLC (7781); Alamo
              Aspen Grove, LLC (7786); Alamo Lakeline, LLC (5294); Alamo Sloans, LLC (9343). The location of the
              Debtors’ service address is: 3908 Avenue B, Austin, Texas 78751.




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                     B.     Order Further Extending the Exclusivity Periods for Filing a Chapter 11 Plan
                            and Solicitation of Acceptances Thereof [D.I. 1245, 6/13/22]

                  Status:   An order has been entered.

         2.       Debtors’ Motion for Entry of an Order, Pursuant to Bankruptcy Rules 9006 and 9027,
                  Further Extending the Period Within Which the Debtors May Remove Actions Pursuant to
                  28 U.S.C. § 1452 [D.I. 1228, 5/25/22]

                  Response/Objection Deadline:               March 2, 2022 at 4:00 p.m. (ET)

                  Responses/Objections Received:             None

                  Related Pleadings:

                     A.     Certificate of No Objection [D.I. 1244, 6/9/22]

                     B.     Order, Pursuant to Bankruptcy Rules 9006 and 9027, Further Extending the
                            Period Within Which the Debtors May Remove Actions Pursuant to 28 U.S.C.
                            § 1452 [D.I. 1246, 6/13/22]

                  Status:   An order has been entered.


             Dated: June 28, 2022                YOUNG CONAWAY STARGATT & TAYLOR, LLP
                    Wilmington, Delaware
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                                                 Counsel to the Debtors and Debtors in Possession




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